                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

In the Matter of:
                                                   CHAPTER 13
BLANCA S. RODRIGUEZ                                CASE NUMBER: 19-20324-DOB
                                                   HONORABLE: DANIEL S OPPERMAN


                  Debtor(s).
________________________________/

                STIPULATION FOR ORDER CURING PLAN ARREARS
                 AND RESOLVING TRUTEE’S MOTION TO DISMISS

       The Debtor and the Chapter 13 Trustee hereby Stipulate to the entry of the attached Order
curing Plan arrears and resolving Trustee’s Motion to Dismiss.

Dated: December 16, 2020

/s/ Robert Shelton                                 /s/ Thomas W McDonald, Jr.
Robert Shelton (P81288)                            Thomas W. McDonald, Jr.
Attorney for Debtor                                Chapter 13 Trustee
1109 Court Street, 2nd Floor                       3144 Davenport Ave.
Saginaw, MI 48602                                  Saginaw MI 48602
Telephone (989) 401-4456                           Telephone (989) 792-6766
lawyershelton@gmail.com                            ecf@mcdonald13.org




  19-20324-dob      Doc 28     Filed 12/16/20    Entered 12/16/20 14:04:44       Page 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

In the Matter of:
                                                  CHAPTER 13
BLANCA S. RODRIGUEZ                               CASE NUMBER: 19-20324-DOB
                                                  HONORABLE: DANIEL S OPPERMAN


                  Debtor(s).
________________________________/


                           ORDER CURING PLAN ARREARS
                    AND RESOLVING TRUTEE’S MOTION TO DISMISS

       The Chapter 13 Trustee and the Debtor having proposed a plan to cure Plan arrears and
resolve the Trustee’s Motion to Dismiss;

      IT IS ORDERED that the Debtor will pay to the Trustee $143.00 monthly beginning
immediately until further order of this Court.




  19-20324-dob       Doc 28   Filed 12/16/20    Entered 12/16/20 14:04:44      Page 2 of 2
